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                                 UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLUMBIA

                                                )
NEXTERA ENERGY GLOBAL                           )
HOLDINGS B.V., et al.,                          )
                                                )
               Petitioners,                     )
                                                )
      v.                                        )       Civil Action No. 19-cv-01618 (TSC)
                                                )
KINGDOM OF SPAIN,                               )
                                                )
               Respondent.                      )
                                                )

                                   MEMORANDUM OPINION

       Petitioners NextEra Energy Global Holdings B.V. and NextEra Energy Spain Holdings

B.V. (NextEra) seek to enforce a € 290 million arbitral award issued by the International Centre

for Settlement of Investment Disputes (ICSID) against Respondent, the Kingdom of Spain.

Spain moves to dismiss or stay the proceedings until the ICSID Tribunal decides on its petition

to annul. (ECF No. 15.) This court agrees with other courts in this district that “it is wiser to . . .

stay these proceedings pending the opinion of the ICSID regarding Spain’s petition to annul.”

See Masdar Solar & Wind Cooperatief U.A. v. Kingdom of Spain, 397 F. Supp. 3d 34, 36

(D.D.C. 2019).

       For the reasons stated below, the court finds that a temporary stay is warranted, and will

therefore GRANT Spain’s motion to stay and deny, without prejudice, Spain’s motion to

dismiss.

                                      I.      BACKGROUND

       NextEra is an investor in solar power incorporated in the Netherlands. (ECF No. 1,

Petition ¶¶ 4, 12.) In 2007, it invested approximately € 750 million in two concentrated solar

energy projects in Spain to capitalize on Spain’s guaranteed tariffs for renewable energy
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producers. (Id. ¶ 13.) Spain later changed its regulations and “fundamentally and radically

changed the investment regime” on which NextEra relied. (Id. ¶ 14.) These regulatory changes

allegedly caused NextEra significant harm, and the company sought to arbitrate the dispute with

Spain under the Energy Charter Treaty (ECT). (Id. ¶ 18.)

       The ECT is a multilateral treaty signed by fifty-four nations and organizations, including

Spain and the Netherlands, and is intended to promote international cooperation in the energy

sector. (ECF No. 1-6, ECT.) Article 26 of the ECT provides that “[d]isputes between a

Contracting Party and an Investor of another Contracting Party relating to an Investment of the

latter in the Area of the former” may be submitted to arbitration. (Id. at 53–57.)

       In 2014, NextEra initiated arbitral proceedings against Spain in front of a three-member

ICSID 1 tribunal, claiming that the changes Spain made to its regulations violated Article 10(1) of

the ECT, which obligates contracting states to provide investors with “fair and equitable

treatment.” (Petition ¶¶ 18–20.) The tribunal found Spain liable for breaching Article 10(1) and

ordered Spain to pay over € 290 million in damages. (Id. ¶¶ 20–21.)

       While ICSID awards cannot be appealed, a party may apply to the ICSID annulment

committee to annul the award on limited grounds. Spain applied to annul the award, triggering

an automatic, provisional stay of enforcement of the award. (ECF No. 15-2 at 2.) Recently, the

annulment committee terminated the stay of enforcement because Spain had not “recognize[d]

the Award rendered by the Tribunal as final and binding” and did not agree to “unconditionally

and irrevocably pay” the award within ninety days of a final decision by the annulment




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  The ICSID Convention is a multilateral treaty created to facilitate foreign investments to which
the United States, Spain, and the Netherlands are parties. It provides a mechanism for the
resolution of investment disputes in front of an independent arbitral tribunal. (ECF No. 1-5,
ICSID Convention, at 22.)
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committee. (ECF 32-1 at 5–7.) In deciding to lift the stay, the annulment committee did not

consider the merits of Spain’s application and the final decision on the annulment of the award is

still pending. (Id.)

                                        II.     DISCUSSION

    A. Jurisdiction

        Spain moves to dismiss on several grounds, including forum non conveniens and lack of

subject-matter jurisdiction under the Foreign Sovereign Immunities Act because no arbitration

agreement exists. (ECF No. 15, Resp. Br. at 19–30.) Neither side challenges the court’s power

to enter a stay. Nonetheless, courts “have an independent obligation to determine whether

subject-matter jurisdiction exists, even in the absence of a challenge from any party.” Arbaugh

v. Y&H Corp., 546 U.S. 500, 514 (2006). Notwithstanding this obligation, a court may decide

“certain non-merits, nonjurisdictional issues . . . because ‘[j]urisdiction is vital only if the court

proposes to issue a judgment on the merits.’” Pub. Citizen v. U.S. Dist. Court for D.C., 486 F.3d

1342, 1348 (D.C. Cir. 2007) (quoting Sinochem Int’l Co. v. Malay. Int’l Shipping Corp., 549

U.S. 422, 431 (2007) (internal quotation marks and citation omitted)). When confronted with

such a non-merits, nonjurisdictional threshold issue, and “when considerations of convenience,

fairness, and judicial economy so warrant,” a district court can “bypass[] questions of subject-

matter and personal jurisdiction.” Sinochem Int’l Co., 549 U.S. at 432.

        Courts in this district have held that stays are a threshold, non-merits issue which a court

may consider before resolving jurisdictional issues. See Gretton Ltd. v. Republic of Uzbekistan,

No. 18-cv-1755, 2019 WL 464793, at *2–3 (D.D.C. Feb. 6, 2019) (staying petition to enforce an

arbitral award before determining subject-matter jurisdiction); Hulley Enters. Ltd. v. Russian

Federation, 211 F. Supp. 3d 269, 277–80 (D.D.C. 2016) (same) (“A stay of proceedings in this



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case is exactly the type of nonmerits action the Sinochem decision contemplates.”); Seneca

Nation of Indians v. U.S. Dep’t of Health & Human Servs., 144 F. Supp. 3d 115, 118–19 (D.D.C.

2015) (staying an action before agency decision and before determining subject-matter

jurisdiction). Accordingly, the court will resolve the threshold stay issue before the thornier

jurisdictional issues, which involve sovereign immunity and international treaties.

   B. Stay

        “[T]he power to stay proceedings is incidental to the power inherent in every court to

control the disposition of the causes on its docket with economy of time and effort for itself, for

counsel, and for litigants.” Landis v. N. Am. Co., 299 U.S. 248, 254 (1936). District courts

“have broad discretion” in deciding whether to stay proceedings “pending the resolution of

independent legal proceedings.” Marsh v. Johnson, 263 F. Supp. 2d 49, 52 (D.D.C.2003) (citing

Landis, 299 U.S. at 254). In considering a stay, courts must “‘weigh competing interests and

maintain an even balance’ between the court’s interests in judicial economy and any possible

hardship to the parties.” Belize Soc. Dev. Ltd. v. Government of Belize, 668 F.3d 724, 732–33

(D.C. Cir. 2012) (quoting Landis, 299 U.S. at 254–55). The party seeking the stay bears the

burden and “must make out a clear case of hardship or inequity in being required to go forward,

if there is even a fair possibility that the stay for which he prays will work damage to some one

else.” Philipp v. Federal Republic of Germany, 253 F. Supp. 3d 84, 88 (D.D.C. 2017) (quoting

Landis, 299 U.S. at 255) (internal quotation marks omitted). And, as here, when a party seeks an

indefinite stay, the stay “must be supported by ‘a balanced finding that such need overrides the

injury to the party being stayed.’” Belize Soc. Dev., 668 F.3d at 732. A court may not “order[] a

stay ‘of indefinite duration in the absence of a pressing need.’” Id. (quoting Landis, 299 U.S. at

255).



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       Here, the court’s interest in judicial economy favors a stay. “Litigating essentially the

same issues in two separate forums is not in the interest of judicial economy or in the parties’

best interests.” Naegele v. Albers, 355 F. Supp. 2d 129, 141 (D.D.C. 2005) (quoting Nat’l

Shopmen Pension Fund v. Folger Adam Sec., 274 B.R. 1, 3 (D.D.C. 2002)). Because Spain’s

response to NextEra’s petition raises many of the same arguments already before the arbitral

tribunal, the outcome of the annulment proceedings “may affect this Court’s determinations, at a

minimum, by virtue of the[ir] persuasive value.” Hulley Enters. Ltd., 211 F. Supp. 3d at 284; cf.

Clientron Corp. v. Devon IT, Inc., No. 13-cv-05634, 2014 WL 940406, at *5 (E.D. Pa. Mar. 10,

2014) (explaining a stay was not warranted where the result of the foreign proceedings would

have no effect on the confirmation proceedings). A hasty resolution resulting in inconsistent

rulings is not in the interest of judicial economy.

       In addition, the international stakes in this action favor a stay. Spain’s request for a stay

“is premised on the need for further clarity from the European Union and the European legal

system” regarding the arbitral tribunal’s jurisdiction. (ECF No. 33 at 3.) This court is “loath to

wade into this territory unnecessarily,” and agrees the more prudent course is to refrain from

delving into determinations on EU law at this stage. Masdar, 397 F. Supp. 3d at 40 (noting in a

case against Spain raising similar issues that “considerations of comity are particularly resonant

here, given that resolving this case mandates addressing a conflict between decades-old treaties

and newly minted EU case law”).

       NextEra contends that because the annulment committee lifted its stay on enforcing the

award, this court should not stay this case, even though no decision has been issued on the

annulment petition’s merits. (ECF No. 21, Pet. Br. at 43; ECF No. 32, Not. Supp. Authority, at

4.) Indeed, NextEra appears to contend that this court’s inherent authority to stay cases is limited



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by the ICSID’s determination to lift the stay. (Not. Supp. Authority at 4.) NextEra cites no

caselaw to support this contention. (Id.) And courts in this district have issued stays, even where

the ICSID lifted its stay on enforcing an award before issuing a decision in annulment

proceedings. See Minute Order, Infrastructure Servs. Lux. S.A.R.L. and Energia Termosolar

B.V. v. Kingdom of Spain, No. 1:18-cv-01753 (D.D.C. July 15, 2020) (order continuing stay on

proceedings despite the ICSID lifting its provisional stay); Unión Fenosa Gas, S.A. v. Arab

Republic of Egypt, No. 18-cv-2395, 2020 WL 2996085, at *3–4 (D.D.C. June 4, 2020) (staying

proceedings pending annulment proceedings before the ICSID, despite the annulment committee

terminating its stay).

        Finally, balancing the hardships to each party also favors a stay. Spain would be

burdened by having to litigate the validity of arbitral awards in two forums. Moreover, the risk

of premature enforcement could result in Spain trying to recover assets seized during this action

if it were to prevail in the annulment proceedings. See In re Arbitration of Certain Controversies

Between Getma Int’l & Republic of Guinea, 142 F. Supp. 3d 110, 118 (D.D.C. 2015). NextEra

contends that the annulment committee will consider this risk in making its decision, and that it

will suffer prejudice from continued delay in recovering its award. (Pet. Br. at 54.) But if

NextEra ultimately prevails it will likely be compensated for any delay because the award

includes interest. (Petition ¶ 21.) Thus, the hardship to Spain, which could be significant,

outweighs the hardship to NextEra.

        In sum, Spain has met its burden to show a “pressing need” for a stay pending the

outcome of the annulment proceedings. However, in an effort to ensure that the proceedings

before this court are not unduly delayed, the court, by separate order, will provide for prompt and




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regular review of the ongoing proceedings before the ICSID and, if NextEra prevails in those

proceedings, will promptly address the merits in this case.

                                     III.    CONCLUSION

       For the reasons stated, the court will GRANT Respondent’s motion to stay and

proceedings are stayed until resolution of the current annulment proceedings before the ad hoc

committee. The court will also deny, without prejudice, the pending motion to dismiss. A

corresponding Order will issue separately.



Date: September 30, 2020


                                             Tanya S. Chutkan
                                             TANYA S. CHUTKAN
                                             United States District Judge




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